    6:14-cv-00207-KEW Document 1 Filed in ED/OK on 04/29/14 Page 1 of 11




                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF OKLAHOMA

CHAD HENDERSON,                               )
                                              )
      Plaintiff,                              )
                                              )
      v.                                      )       No. CIV-14-434-HE
                                              )
GC SERVICES, LP,                              )
                                              )
      Defendant.                              )

                               PLAINTIFF’S COMPLAINT

      Plaintiff, CHAD HENDERSON (“Plaintiff”), through Plaintiff’s attorney, Victor R.

Wandres, alleges the following against Defendant, GC SERVICES, LP (“Defendant”):

                                      INTRODUCTION

   1. Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15

      U.S.C. 1692 et seq. (“FDCPA”).

   2. Count II of Plaintiff’s Complaint is based on the Telephone Consumer Protection Act., 47

      U.S.C. 227, et seq. (“TCPA”).

                              JURISDICTION AND VENUE

   3. This Court has jurisdiction under 28 U.S.C. §1331 and 15 U.S.C. §1692k.

   4. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

      actions may be brought and heard before “any appropriate United States district court

      without regard to the amount in controversy.”

   5. This Court has jurisdiction over Plaintiff’s TCPA claim pursuant to Mims v. Arrow

      Financial Svcs. LLC, 132 S. Ct. 740, 2012 WL 125249 (Jan. 18, 2012).



                                              1
 6:14-cv-00207-KEW Document 1 Filed in ED/OK on 04/29/14 Page 2 of 11




6. Venue and personal jurisdiction in this District are proper because Defendant does or

   transacts business within this District, and a material portion of the events at issue occurred

   in this District.

                                        PARTIES

7. Plaintiff is a natural person residing in Ada, Pontotoc County, Oklahoma.

8. Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3).

9. Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5).

10. Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6).

11. Within the last year, Defendant attempted to collect a consumer debt from Plaintiff.

12. Defendant is a business entity engaged in the collection of debt within the State of

   Oklahoma.

13. Defendant is a Delaware Limited Partnership with its headquarters in Houston, Harris

   County, Texas. See Defendant’s Answer, Document No. 8, ¶12, 2:13-cv-11710-MOB-

   RSW.

14. Defendant’s business includes, but is not limited to, collecting on unpaid, outstanding

   account balances.

15. When an unpaid, outstanding account is placed with Defendant it is assigned a file number.

16. The principal purpose of Defendant’s business is the collection of debts allegedly owed to

   third parties.

17. Defendant regularly collects, or attempts to collect, debts allegedly owed to third parties.

   See Defendant’s Answer, Document No. 8, ¶16, 2:13-cv-11710-MOB-RSW.

18. During the course of its attempts to collect debts allegedly owed to third parties, Defendant

   sends to alleged debtors bills, statements, and/or other correspondence, via the mail and/or
                                              2
 6:14-cv-00207-KEW Document 1 Filed in ED/OK on 04/29/14 Page 3 of 11




   electronic mail, and initiates contact with alleged debtors via various means of

   telecommunication, such as by telephone and facsimile.

19. Defendant acted through its agents, employees, officers, members, directors, heirs,

   successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                             FACTUAL ALLEGATIONS

20. Defendant is attempting to collect a consumer debt from Plaintiff regarding a student loan.

21. The alleged debt owed arises from transactions for personal, family, and household

   purposes.

22. Within in the last year, Defendant was hired to collect on the debt.

23. Within one (1) year of Plaintiff filing this Complaint, Defendant communicated with

   Plaintiff in an attempt to collect on the alleged debt.

24. Defendant called Plaintiff’s cellular telephone at 580-235-82xx in an attempt to collect on

   the alleged debt.

25. Defendant also called Plaintiff’s work telephone at 580-889-33xx in an attempt to collect

   on the alleged debt.

26. On numerous occasions, Plaintiff told Defendant to stop calling Plaintiff.

27. Furthermore, on numerous occasions, Plaintiff told Defendant specifically to stop calling

   Plaintiff at work.

28. Despite this, Defendant continued to call Plaintiff, both on his cellular telephone and on

   his work telephone.

29. On December 19, 2013, a cease and desist letter was faxed to Defendant

   instructing Defendant to stop calling Plaintiff. See Exhibit A.

30. The aforementioned cease and desist letter contained one of Plaintiff’s attorney’s names,
                                              3
 6:14-cv-00207-KEW Document 1 Filed in ED/OK on 04/29/14 Page 4 of 11




   address, and contact information. See Exhibit A.

31. Despite this, Defendant continued to call Plaintiff, including a call that was placed to

   Plaintiff on December 20, 2013, at 2:15 p.m.

32. Defendant used an “automatic telephone dialing system”, as defined by 47 U.S.C. §

   227(a)(1), to place its repeated collection calls to Plaintiff seeking to collect the debt.

33. Often when Defendant called Plaintiff, an automated recording played.

34. Therefore, Defendant called Plaintiff using an autodialer system.

35. Defendant’s calls constituted calls that were not for emergency purposes as defined by 47

   U.S.C. § 227(b)(1)(A).

36. Plaintiff is not a customer of Defendant’s services, and has never given Defendant

   permission to contact his cellular telephone number.

37. Accordingly, Defendant never received Plaintiff’s “prior express consent” to receive calls

   using an automatic telephone dialing system or an artificial or prerecorded voice on his

   cellular telephone pursuant to 47 U.S.C. 227(b)(1)(B).

38. In 2012, Plaintiff orally agreed with Defendant to allow monthly payments to be drawn

   from Plaintiff’s checking account, and paid towards Plaintiff’s debt.

39. During the last five months of the payment agreement, Defendant did not provide to

   Plaintiff, nor did Plaintiff execute, any written or electronic writing memorializing or

   authorizing the recurring or automatic payments.

40. The payment plan which Defendant induced Plaintiff to enter required Plaintiff to pay

   $200.00 to Defendant, to be automatically electronically transferred from Plaintiff’s

   checking account every month.

41. Despite having entered into a payment plan with Defendant, Defendant continued to place
                                              4
 6:14-cv-00207-KEW Document 1 Filed in ED/OK on 04/29/14 Page 5 of 11




   telephone calls to Plaintiff, Plaintiff’s family members, and Plaintiff’s co-workers up to

   four times a day in attempt to collect on the debt.

42. Defendant placed collection calls to Plaintiff’s daughter on her cellular telephone number

   at 580-340-08XX in an attempt to collect on the debt.

43. Defendant has been placing collection calls to Plaintiff’s daughter since June of 2013.

44. On numerous occasions, Plaintiff’s daughter has told Defendant to stop calling.

45. On numerous occasions, Plaintiff told Defendant to stop calling Plaintiff’s daughter.

46. Despite this, Defendant continued to call Plaintiff’s daughter.

47. Defendant places collection calls to Plaintiff’s wife on her cellular telephone number at

   918-399-61XX in an attempt to collect on the alleged debt.

48. Defendant has been placing collection calls to Plaintiff’s wife’s since August of 2013,

   before Plaintiff had married his wife.

49. On numerous occasions, Plaintiff told Defendant to stop calling Plaintiff’s wife.

50. Despite this, Defendant continued to call to Plaintiff’s wife.

51. On January 3, 2014, a cease and desist letter was sent to Defendant instructing Defendant

   to stop calling Plaintiff’s wife. See Exhibit B.

52. The aforementioned cease and desist letter contained one of Plaintiff’s attorney’s names,

   address, and contact information. See Exhibit B.

53. Despite this, Defendant continued to call Plaintiff’s wife daily, placing up to four calls per

   day.

54. Defendant’s wife and daughter were not co-signors on Plaintiff’s debt and do not owe

   Plaintiff’s debt.

55. Despite this, Defendant continued to place telephone calls to Plaintiff’s daughter and wife
                                              5
 6:14-cv-00207-KEW Document 1 Filed in ED/OK on 04/29/14 Page 6 of 11




   up to four times a day in attempt to collect on the alleged debt.

56. Within one (1) year of Plaintiff filing this Complaint, Defendant left Plaintiff at one

   voicemail message regarding the alleged debt.

57. Defendant’s voicemail message was a humming noise.

58. Defendant’s voicemail message for Plaintiff did not state that the message is from GC

   Services, LP.

59. Defendant’s voicemail message for Plaintiff did not state that the message was an attempt

   to collect a debt.

60. Defendant has spoken with Plaintiff’s co-workers, including Plaintiff’s chief operating

   officer.

61. Specifically, Defendant’s collector Ed Jennings told Plaintiff’s co-workers and chief

   operating officer that Plaintiff’s wages may be garnished.

62. Defendant has called Plaintiff from various numbers, including calls from 918-379-4316

   and 405-463-2805

63. The telephone numbers of 918-379-4316 and 405-463-2805 are two of Defendant’s

   telephone numbers.

64. Defendant’s conduct as described above was intended to harass, coerce, and intimidate

   Plaintiff into payment of the debt, or to increase the amount Plaintiff was willing to pay.

65. Defendant has caused Plaintiff great anxiety, stress, and humiliation from being

   incessantly contacted by Defendant, and having Defendant consistently call Plaintiff’s

   daughter, Plaintiff’s wife, and Plaintiff’s co-workers, despite having made ongoing

   electronic payments in connection with the same debt.

66. Defendant maintained a Call Detail Search regarding Plaintiff’s Account.
                                             6
 6:14-cv-00207-KEW Document 1 Filed in ED/OK on 04/29/14 Page 7 of 11




67. Defendant maintained an Account Detail Listing regarding Plaintiff’s Account.

68. Defendant recorded all of its telephone communications with Plaintiff regarding the

   Account.

69. Defendant recorded all of its telephone communications with third parties regarding the

   Account.

70. Defendant has in its possession audio recordings made in connection with Defendant’s

   efforts to collect the debt at issue in this matter.

71. In the normal course of business, Defendant does not retain copies of the actual letters it

   sends to various debtors.

72. Here, Defendant did not retain copies of the actual letters it sent to Plaintiff regarding the

   Account.

                         COUNT I
DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

73. Defendant violated the FDCPA based on the following:

       a. Defendant violated §1692b(2) of the FDCPA by communicating with Plaintiff’s

            co-workers and chief operating officer and stating that Plaintiff owes a debt;

       b. Defendant violated §1692b(3) of the FDCPA by communicating with Plaintiff’s

            co-workers, Plaintiff’s chief operating officer, Plaintiff’s daughter, and Plaintiff’s

            wife more than once after being told not to communicate with them again;

       c.   Defendant violated §1692b(6) of the FDCPA by communicating with Plaintiff’s

            wife after Defendant knew that Plaintiff was represented by an attorney and could

            readily ascertain the attorney’s name and address;

       d. Defendant violated §1692b(6) of the FDCPA by communicating with Plaintiff

                                               7
6:14-cv-00207-KEW Document 1 Filed in ED/OK on 04/29/14 Page 8 of 11




       after Defendant knew that Plaintiff was represented by an attorney and could

       readily ascertain the attorney’s name and address;

    e. Defendant violated §1692c(a)(3) of the FDCPA by continuing to call Plaintiff at

       his place of employment after Plaintiff told Defendant to stop calling;

    f. Defendant violated §1692c(b) of the FDCPA when Defendant contacted Plaintiff’s

       co-workers and chief operating officer, Plaintiff’s daughter, and Plaintiff’s wife,

       third parties, without Plaintiff’s permission, and after Defendant was already in

       touch with Plaintiff, in an attempt to collect a debt from Plaintiff;

    g. Defendant violated §1692c(c) of the FDCPA when Defendant continued to contact

       Plaintiff after being told in writing that Plaintiff wished Defendant to cease further

       communication with Plaintiff;

    h. Defendant violated §1692d of the FDCPA by engaging in conduct the natural

       consequence of which is to harass, oppress, or abuse any person in connection with

       the collection of an alleged debt when Defendant repeatedly and continuously

       contacted Plaintiff up to four times per day in connection with an alleged debt

       which Plaintiff had previously been making automatic electronic recurring

       payments towards, and after Plaintiff had told Defendant to stop calling;

    i. Defendant violated §1692d(5) of the FDCPA by causing a telephone to ring or

       engaging any person in telephone conversation repeatedly or continuously with

       intent to annoy, abuse, or harass any person at the called number when Defendant

       repeatedly placed collections calls to Plaintiff up to four times per day in

       connection with an alleged debt on which Plaintiff had already been making

       regular and recurring automatic electronic payments;
                                          8
     6:14-cv-00207-KEW Document 1 Filed in ED/OK on 04/29/14 Page 9 of 11




          j. Defendant violated §1692d(6) of the FDCPA by placing telephone calls without

              meaningful disclosure of the caller’s identity when Defendant left Plaintiff a

              message that failed to state that call was from GC Services, LP;

          k. Defendant violated §1692e of the FDCPA by using false, deceptive, or misleading

              representations or means in connection with the collection of a debt;

          l. Defendant violated §1692e(4) of the FDCPA representing that nonpayment of any

              debt would results in garnishment;

          m. Defendant violated §1692e(10) of the FDCPA by using false representation or

              deceptive means in connection with the collection the alleged debt;

          n. Defendant violated §1692e(11) of the FDCPA when Defendant left Plaintiff a

              voicemail message that did not state the communication was an attempt to collect

              a debt; and

          o. Defendant violated §1692f(2) of the FDCPA when Defendant accepted payment

              by check or other payment instrument postdated by more than five days without

              notifying Plaintiff in writing of the debt collector’s intent to deposit such check or

              instrument.

   74. Defendant’s acts as described above were done intentionally with the purpose of coercing

       Plaintiff to pay the alleged debt.

   75. As a result of the foregoing violations of the FDCPA, Defendant is liable to Plaintiff for

       actual damages, statutory damages, and costs and attorney’s fees.

       WHEREFORE, Plaintiff, CHAD HENDERSON, respectfully requests judgment be

entered against Defendant, GC SERVICES, LP, for the following:

   76. Actual damages;
                                                9
    6:14-cv-00207-KEW Document 1 Filed in ED/OK on 04/29/14 Page 10 of 11




   77. Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act, 15

       U.S.C. 1692k;

   78. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act,

       15 U.S.C. 1692k; and

   79. Any other relief that this Honorable Court deems appropriate.

                                  COUNT II
                           DEFENDANT VIOLATED THE
                     TELEPHONE CONSUMER PROTECTION ACT

   80. Plaintiff repeats and re-alleges paragraphs 1-72 of Plaintiff’s Complaint as the allegations

       in Count II of Plaintiff’s Complaint.

   81. Defendant’s conduct violated the TCPA by:

          a. Placing non-emergency unsolicited calls to Plaintiff’s cellular telephone using an

              automatic telephone dialing system and/or texting system in violation of 47 U.S.C.

              § 227 (b)(1)(A)(iii).

   82. As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq., Plaintiff is

       entitled an award of $500.00 in statutory damages, for each and every violation, pursuant

       to 47 U.S.C. § 227(b)(3)(B).

   83. As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. § 227 et seq.,

       Plaintiff is entitled an award of $1,500.00 in statutory damages, for each and every

       violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

   84. Plaintiff is entitled to and seek injunctive relief prohibiting such conduct in the future.

       WHEREFORE, Plaintiff, CHAD HENDERSON, respectfully requests judgment be

entered against Defendant, GC SERVICES, LP, for the following:

   85. As a result of Defendant’s negligent violations of 47 U.S.C. 227(b)(1), Plaintiff is entitled
                                                 10
    6:14-cv-00207-KEW Document 1 Filed in ED/OK on 04/29/14 Page 11 of 11




       to and requests $500 in statutory damages, for each and every violation, pursuant to 47

       U.S.C. 227(b)(3)(B).

   86. As a result of Defendant’s willful and/or knowing violations of 47 U.S.C. 227(b)(1),

       Plaintiff is entitled to and requests treble damages, as provided by statute, up to $1,500,

       for each and every violation, pursuant to 47 U.S.C. 227(b)(3)(B) and 47 U.S.C.

       227(b)(3)(C).

   87. Plaintiff is entitled to and seek injunctive relief prohibiting such conduct in the future.

   88. Any other relief that this Honorable Court deems appropriate.



                              RESPECTFULLY SUBMITTED,



April 29, 2014                By:_/s/ Victor R. Wandres___________
                                     Victor R. Wandres, OBA #19591
                                     4835 South Peoria Ave., Suite 1
                                     Tulsa, OK 74105
                                     Tel: 918-200-9272
                                     victor@paramount-law.net
                                     Attorney for Plaintiff




                                                 11
